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                EXHIBIT A
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                            insurance Cnnimissioncr
         I                 ACCEPTED SOP                                       COPY
                                JUL 2 2 2019                              ORIGINAL FILED

                              TIME:
                                                                             JUL 1 6 2019
                                                                      Scott G. Weber, Clerk, Clark Co
        t




                             SUPERIOR COURT OF WASHINGTON FOR CLARK COUNTY

        '    hICHFLE VERSTEEG and ARON                          )
                                                                            19        2      02183           06
             VERSTEEG, vjife and husband and                    )   No.
             •.;he marital community comprised                  )
                                                                )   COMPLAINT FOR UNDERINSURED
             ■. hereof.                                         )
                                                                )
                                                                    MOTORIST BENEFITS, BREACH OF
                     Plai.ntiffs,                               )   CONTRACT, INSURANCE BAD FAITH,
I
                   vs,                                          >   VIOLATIONS OF THE INSURiVNCE
                                                                )   FAIR CLAIMS ACT AND VIOLATIONS
             ;PROGRESSIVE MAX INSURANCE                         )   OF THE CONSUMER PROTECTION ACT
             COMPANY or PROGRESSIVE DIRECT

                                                                            n
                                                                )
             INSURANCE COMPANY, a foreign                       )
                                                                )
             .insurer,
    I2                                                          )                             U'!! Jy-eJU
                     Defendant.                                 )
    l^J
                     COMES NOW plaintiffs Michele Versteeg and Aron Versteeg, by
    I
             turd through their attorney, Jenna D. Harden, for a claim against
             U'e Defendant Progressive Max Insurance Company or Progressive
    } ■'     D.irect Insurance Company and allege as follows:
                                                        X. PARTIES
                     1,1, Plaintiffs Michele Versteeg and Aron Versteeg
             ("Plaintiffs") at all times material hereto, were wife and
    20
             husband and constituted a marital community, and were residents
             of Clark County, Washington.
    22
                     1.2. At all times material hereto, defendant Progressive
             Kax Tnsurance Company or Progressive Direct Insurance Company


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             £•»«« I - (:0MI»WU:NT I'OR U114 DAWACBS, breach op contract, INSJUHANCE BAD FAITH AND VIOLATIONS OP THE
             3M.1URANCE PJllR CLAIUil ACT’AMI) VIOLATIONS OP THE CONSUMER PROTECTION ACT
    2t                                                  JENNA D. HARDEN
                                                       1251 Officers Row
                                                          P.O. Box 465
                                                      Vancouver, UA 98666
                                                         (360) 225<9960
                                Case 3:19-cv-05728 Document 1-2 Filed 08/06/19 Page 3 of 9

                                             i


           l      ["Progressive") was and is a foreign insurer doing business in
          ;;;     :!.ark; County, Washington.
                                                         IX, NATURE or ACTION
                         2.1      Plaintiffs fully paid insurance premiums for
          •i
                 underinsured motorist (UlM) coverage from Progressive, for
           j

                 insurance policy number 7579.4504-9, which made such UIM coverage
                 applicable at all times mentioned herein.
                       2.2. Progressive accepted premiums and issued UIM coverage
        ■j       5.0 pjaintiffs.
        0                2.3. Defendant Progressive resides in Clark County within
    ■j,          -..he meaning of RCW 4.12.025 as it solicited insurance,
I                 ransacted insurance business, and/or had an office for the
                 transaction of insurance business within Clark County,
    12
                Washington, at all times material herein.
    3:)
                         2.4     Venue is proper in Clark County, Washington, pursuant
    ?
                 to RCW 48.05.220.
    1 e.
                         2.5. On or about 07/17/13 at approximately 6:15 a. m.,
    j6
                Michele Versteeg drove her 2005 Honda CRV car southbound on Main
    'J'         Street in Vancouver, Washington when she stopped at East 29*^^
    ]{:         Street jn the left turn lane to wait for an oncoming northbound
    19          :i0:.0 Subaru Forre:ster Utility Vehicle, driven by Julia Turner,

    2C          no pass. At the same time and place, underinsured Alice Ryan
                drove a 2006 Toyota Scion Utility Vehicle westbound from East
    21
                29 Street to disregard a stop sign that governed her path, to
    22
}               enter tre northbound lane of Main Street where her motor vehicle
    23
                colliclec into the front end of Mrs. Turner's northbound motor
    24          vehicle. The colliding motor vehicles in turn slammed into
                                                                           the
    25
                                                 damacbs, breach op contract, imsohamce bad faith and violations op the
                .I!1>..0:mANCB pair claim.? TICT AND VlOIATJiONS OF THE CONSUMER. PROTECTION ACT
    25                                                           JENNA D. HARDEN
                                                                1251 Officers Rc>w
                                                                   P.O. Box 4<55
                                                               Vancouver, VJA 98666
                                                                  (360) 225-9960
                             Case 3:19-cv-05728 Document 1-2 Filed 08/06/19 Page 4 of 9

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         :    dr:.v«r'« side oJ: Mrs. Versteeg's stopped car.                            Mrs. Versteeg
               experienced multiple impacts to her car in the collision.                                    Ms.

         j
               Rycin operated her motor vehicle at a speed toe fast for the
              conditions, failed to keep a proper lookout, failed to exercise
         £

               Ef-asonable care, failed to stop at a stop sign and failed to
         z
              yield the right of way, thereby causing a collision involving
         '    three notor vehicles. The force of the multiple impacts of two
              motor vehicles impacting Mrs. Versteeg's small car, c:aused Mrs.
              v«rsteec's body to be violently thrown in and about her motor
         C-   ^/ehicls and caused her to sustain injuries. The subject
              cx)llision was caused by the negligence of Alice Ryan.
i
i
                      2.6     As a direct and proximate result of the negligence of
!I   n
     ^        Alice Ryan in failing to exercise due care and in operating her
I
!
              motor vehicle in a reckless, negligent, and dangerous manner,
     ' ■?
I
              plaintiffs sustained significant injuries and damages.
     14
                      2.7     Plaintiff Michele Versteeg received Personal Injury
     15
              Protection ("PIP") benefits from defendant Progressive.
i
     1£               2.8     Plaintiffs asserted and subsequently settled their
     );       third party claims against Alice Ryan on May 16, 2014 in
     19       exchange for payment of $72,250.00 of a $100,000.00 automobile
              liability insurance policy limit from Mutual of Enumclaw
              Insurance Company ("MOE") as Plaintiff Michele Versteeg chose to
     10
              delay surgery as long as possible a.s recommended by her treating
     'I
              physicians.
     I?
                      2.9     In exchange for MOE's settlement, Plaintiff Versteeg
     >3
              released underinsured Alice Ryan from further obligation after
     V


              ::irst tendering to defendant Progressive, MOE's offer of

              imga 3 '• CXBffliAINT FOR UlM DAMAGESS, BREACH OP CONTRACT, INSURANCE BAD B'AITH AND VIOLATaONS OP THE
              IvNS'JRANCK PA:i:r claims act Aim VIOLATIONS OP TUB CONSUMER PROTECTION Ai::T
     ;6                                                     JBHNA D. HARDEN
                                                           1251 Officers Rew
                                                              P.O. Bo» ACiS
                                                         Vancouver, WA 98i566
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             compromise for purposes set forth in Hamilton v. Farmers
i             uisurance, 107 W2-d, 721 (1987), v-jhich tender defendant
             ^^.:•oqressive rejected prior to plaintiffs' settlement with MOE.
                       2.10 Plaintiff Michele Versteeg finalized the compromise of
             .yettlemen" in the usual course by issuing a prc-rata payment to
         C


1
             defendant Progressive to satisfy its PIP subrogation claim at
         '            time, and by making various other payments to other
             ii;cidental insura^nce companies that paid medical bill.s related
             ••,c: plaintiff Michelle Versteeg claim based on her recovery from
             MC'E..
t
f
t
     I0                2.M On April 3, 2019, after five years of additional
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     »   ’
             mt-cical treatment, painful living and physical struggle with her
             wiiury since settling with MOE, plaintiff Michele Ver.steeg
             underwent invasive surgery and plaintiffs submitted a revised
     .
<1
             demand with updated supporting materials to defendant
.1
             Progressive demanding that it issue payment to plaintiffs for
     15
             plaintiffs' full UIM policy limit benefits of $500,000.
     Li:              2.12 On May 2, 2019, defendant Progre.ssive, acting through
;
     i "»
             its assigned adjuster Ryan Follas, denied plaintiffs I request
     .8      for UIM policy limits benefits to offer $2,500.00 in compromise.
i


     .9               2.13 On May 20, 2019, plaintiffs, act.lng through counsel,
3

             notified the Office of the Insurance Commissioner (OIC) of

     ;•
             d2:fendant Progressive's violation of the Insurance Fair Conduct
             .Act (''IFCA") by letter accompanied by the IFCA Cover Sheet, and
     ?2
             provided defendant Progressive with copies of the notification.
i    13
                      2.l-!i Defendant Progressive acting through its assigned
!
             adjuster, Ryan Follas, responded to plaintiffs by cover letter

                   4  (:<M4PIA:rNT FOR UIM DAMAGDSS, BREACH OP CONTRACT, INSURANCE BAD FAITH AND VIOLATIONS OF THE
             INSJ^AHCK FAIR CLAIMS JICT AND VIOLATIONS OP THE CONSUMER PROTECTION ACT
I        6                                                JENNA D. HARDEN
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                                                        Vancouver, VIA 98666
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         ;    d.:itecl June 3, 2019 that in response to the IFCA notification, it
              v.Mis in the process of considering the request for UIM binding
         ,    arbitration and would respond in the near future. However, in a
              rollow-up letter dated June 11, 2019, defendant; outlined its
              r*;.ulty valuation of its insureds' claim to conclude "At this
         c
                         we are not agreeable to binding arbitration under the
              policy."
                       2.13 Plaintiffs have complied with all conditions precedent
         ti   I c:-   recovery contained in the policy of insurance issued by
I
         M    de-Cendant Progressive to plaintiffs,
    :'0                                        - CAUSES OF ACTION

    n                                        Breach of Contract
                       3.1   Pursuant to the terms of its policy cf insurance
    32
              :.s.sued to plaintiffs, defendant Progressive agreed to pay for
    j.5
              compensatory damages as a result of bodily injuries suffered by
    ].<j
              plaintiffs and due by law from the owner or driver of an
    !.
              aricierinsured motor vehicle resulting from a motor vehicle
    i6        colJision. Defendant Progressive has breached its contractual
    LV        obligations to plaintiffs by failing and refusing to pay the
    ■g        $300,000.00 it owes them and otherwise failing to make any
    19        reasonable offer of settlement of plaintiffs' UIM claims.
                       3.2   Defendant Progressive's breach of contract has
    If.}

              proxiraately caused damages to plaintiffs in an amount to be
    :l
              determined at the time of trial.
    12
                       3.3   Plaintiffs bring this breach of contract claim against
         3
              aefendant Progressive pursuant to the Underlnsured Motor Vehicle
              Hodily Injury Coverage of their Progressive policy.
         3
                                                                                          THE
         ^                                       JEKNA D. HARDEN
                                                1251 Officees Row
                                                   P.O. Box 465
                                               Vancouver, WA 98666
                                                  (360) 225-9960
                                Case 3:19-cv-05728 Document 1-2 Filed 08/06/19 Page 7 of 9



                                                            Bad Faith
           •V            '-.A   Defendairt: Progressive violated its duty of good faith
           ..    and fair dealing to its own insured, plaintiffs / by (1)
j

                 unreasonably denying payments of just and fair UIM benefits to
                 Dl-aintiffs; and (2) not attempting in good faith to effectuate a
           c;
                 yrompt, fair, and equitable settlement of plaintiffs' UIM
                   ..aim.s, even though liability is undisputed.
                        3.J)    Progressive's acts of bad faith have proximately
                 '■-•■•used injuries and damages to plaintiffs in an amount to be
         i      determined at the time of trial.
    • ^                          Viol-sition of the In.nugance Fair Conduct Act
                        3.6     Defendant Progressive has committed certain acts and
    _           of.iiisions as described above v/hich constitute violations of the
                ';^ashington Unfair C].aims Practices Acts, specifically WAC 284-
                30-330, as well as unreasonably denying payment of coverage and
    14
                ber-ofits to plaintiffs in violation of RCW 48.30.010 and RCW
;               i:8.30.0:L!j. Progressive's acts and omissions and violations of
                u.he WAC in failing to properly adjust and pay plaintiffs' UIM
                claims constitute a violation of the Insurance Fair Conduct Act,
    ig          RCW 48.30.010 and RCW 48.30.015. Defendant Progressive has a
    ■ i,        statutory duty to not unreasonably deny claims and benefits

    JO          pursuant to RCW 48.30.010(7). Progressive ha.s breached its
                ■vtatutory duties to plaintiffs and, consequently, plaintiffs are
    '.i
                •■entitled to all of the relief available pursuant to RCW
                4!?. 30.015.
    :.'s
                        3.7     Defendant Progressive's violations of the Unfair
     c.         Ciaims Practices Act and the Insurance Fair Conduct Act have
     n
                Pago 6 - COMRIAIMT FOR UIM'UAMftfiBS, »REACI1 OP CONTRACT, INSURANCE BAD FAITH AND VIOLATIOMS QV tub
                IHSUliftHClS PAIR CLAIMS ACT AND VIOLATIONS OP THE CONSUMER PROTECTION ACT
                                                         JENNA D. HARDEN
                                                        1251 Officers Row
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                                                          (360) 22S>9960
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                    I    proxin-ately caused injuries and damages to plaintiffs in an
                   ^     amount to be pro\>eri at the time of trial.

                    t                              of the Consuiney Protection Act
                              .5.8 Defendarit Progressive's actions are in violation of the
                         Consumer Protection Act (CPA), RCW 19.86., et. seq.
                                 3.9 Progressives engaged in an unfair or c.eceptive act or
               «»
                         practice in trade or commerce that impacts the public interest,
                         ^■.t.ich causes injury to the party in Plaintiffs' Business or
               i
                        property, and which injury is causally linked to the unfair or
               ;■       <5cceptive act. St. Paul Fire & Marine In.s. Co. V. Onvia,- Inc.,
                        :.(:5 Wn.2d 122, 134, 196 P.3d 664 (2008).
                            .5.10 Plaintiffs allege that Progressive has a national
                        ucUcy to deny coverage and insurance benefits/payments and
    I!                  unreasonably prolongs the claims process, thereby delaying
                        expensive claims resolution and making the process of claim
          1']
                        resolution as drawn out as possible.
          3"
                              3.11 Plaintiffs further allege that Progressive's
    i    1-             requirement that UIM disputes as to the amount of damages must
         1/             be commenced in arbitration or a trial court is a standard
         15             practice of Progressive, and that a;3 a result thereof,
         19             Progressive should be enjoined from further operation in the
                        j:isurance business in the State of Washington.

         21                   3.12 Progressive has violated other statutory obligations
I                       ■set forth in this Complaint to act in good faith in all
         22
                        insurance matters, which constitutes a per se violation of the
         <3
                        CPA.


         1:5
          , ‘»s!!p.LcB“M“"lMT*A?:rC’«OWTS“r°THrcoSR‘S                                VIOLATIONS ON THE
                                                      JENNA D. HARDEN
I                                                    1251 Officers Row
                                                        P.O. Box 465
                                                    Vancouver, HA 98666
                                                       (360) 225>9860
    i
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                    3.13 Progressive's actions in violation of the CPA entitles
               V'aintilffs to treble damages, reasonable attorney fees, costs of
               suit, injunctive and other relief as permitted by stcvtute.
                    WHKREFORE, plaintiffs Michele Versteeg and Aron Versteeg
          i

               pray for judgment against defendant Progressive Max Insurance
               Company or Progressive Direct Insurance Company as follows:
f
                    1. For full payment of plaintiffs' valid DIM claim;
                    2. E'er general and special damages in amounts to be proven
          e           at the time of trial;
          i-        3. E'or all damages proximately caused by defendant
        2C            Progressive's bad faith claims handling in an amount to

        n             be proven at the time of trial;
                      ii'or all damages proximately caused by Progressive's
                      violations of the Unfair Claims Practices Act, the
        1*:
                      Insurance Fair Conduct Act and the Consumer Protection
        14
                      Act in an amount to be proven at the time of trial;
                   5, For trebling of plaintiffs' actual damages pursuant to
        16            RCW 48.30.015;
!       I/         6. For an award of plaintiffs' reasonable attorneys' fees
        18            and actual and statutory costs, including expert witness
                      fees ;
I
        >0         1. For taxable costs and interest; and
                   8. For such other and further relief as the Court deems just
        '1
!                     and proper.
        n
                   DATi::o this 16*^^ day of July, 20|9.
        :3                                                       /   k /
                                                      .^J^'JNA D. HARDEN, WSBA 28494
                                                       ^Attorney for Plaintiffs
        !5
                                                                                       THE
        :6                                   JENNA D. HARDEN
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